4:08-cr-03148-RGK-CRZ   Doc # 139   Filed: 02/23/09   Page 1 of 1 - Page ID # 295



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:08CR3148
                                     )
           v.                        )
                                     )
CHAD W. FERGUSON,                    )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     Defendant’s motion to restrict, filing no. 135, is granted
and the defendant’s motion to modify conditions of detention
(filing no. 136) shall remain filed as a restricted document.

     DATED this 23rd day of February, 2009.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
